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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

William R. Metallo,

Plaintiff,
Vs. Civil Action No.gt\4-eur AGB OL ABS
And Demand for Jury Trial
Orlando Utilities Commission, =
Dan Kirby, ; e3 __
John Hugh Buddy Dyer, ns wl
Wayne R. Zimmermann, + oy ba
Defendants. - 2 be
: =
COMPLAINT o

COMES NOW, the plaintiff, William R. Metallo, appearing pro se, and

for a complaint against the defendants above named, states, alleges,

and avers as follows:

JURISDICTION

1. This Court has subject matter jurisdiction under 28 U.S.C. sections
1331 and 1343.

2. This action is commenced pursuant to 2201 and 2202 and 42

U.S.C., section 1983.

GENERAL ALLEGATIONS
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3. The plaintiff, William R. Metallo is a citizen of Florida, United States

of America at 1975 Lanier Court, Winter Park, Florida 32792.

4. Defendants, Orlando Utilities Commission (“OUC”) is a Orlando City
owned Electric Utilities Organization covered under the Public Utility
Regulatory Policies Act of 1978 (PURPA) at 100 West Anderson Street,
Orlando, Florida 32802. Dan Kirby is President and Board Member at
OUC at 100 West Anderson Street, Orlando, Florida 32802. John Hugh
“Buddy” Dyer is Mayor of Orlando, Florida and Board Member at OUC
at 100 West Anderson Street, Orlando, Florida 32802. Wayne R.
Zimmermann is AMI Project Manager at OUC at 100 West Anderson
Street, Orlando, Florida 32802. At all times pertinent to the complaint
defendants have been in the capacity of Electric Utilities Providers,
Officers, Board Members, and/or employees of Orlando Utilities

Commission.

5. Plaintiff is an individual disabled American veteran See Exhibit
(“A”) having disabilities received during U.S. Military service. He
suffers severe hearing loss and tinnitus. Without plaintiff’s permission
or approval, OUC arbitrarily installed a smart meter at his residence.
The smart meter created many physical and emotional problems for

plaintiff amongst these problems were sleepless nights, violent
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headaches, respiratory problems and frequent sneezing, low frequently
humming and buzzing noises that produced shrill ear ringing, and,
caused distraction concerning household functions, skin rashes,
frequent power outages that created inconveniences and clock re-
settings, lack of concentration, confusion and memory loss, insomnia
and inability to return to sleep, dry skin. But most severe—was the

loud and violent ear ringing that exacerbated his tinnitus condition.

6. Dr. Liya Sandra Perlingieri, Global Research, Centre for Research on

Globalization, wrote on July 13, 2012:

7. “Over the past year, I have already personally seen the damage
these dangerous meters (smart meters) have done to numerous
people and several animals I know—all across the U.S. Although not
generally reported by mainstream media. The serious impacts on
people’s health are evident. A short list includes: neurological
impairment, ear pain and hearing problems, breathing dysfunctions,
chest pains and heart ailments, burning skin, sleep disturbances,
headaches, depression, vision troubles, blood pressure changes,
sterility, autism, and neurodegenerative disease. There are numerous
reports of people who are completely incapacitated from EMF

exposure. Several people I know are almost constantly debilitated and
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housebound, due to city-wide exposure to cell towers and Wi-Fi that
has become ubiquitous. Most allopathic physicians are not trained in

environmental medicine, and so often symptoms are misdiagnosed”.

8. On July 26, 1990, Congress enacted the Americans with Disability
Act (“ADA”), 42 U.S.C. sec. 12101, et seq., establishing the most
important civil rights law for persons with disabilities in our country’s

history.
9. The Congressional statutory findings include:

a) “some 43,000,000 Americans have one or more physical or
mental disabilities;

b) historically, society has tended to isolate and segregate
individuals with disabilities and despite some
improvements, such forms of discrimination against
individuals with disabilities continue to be a serious and
pervasive social problem;

c) discrimination against individuals with disabilities persists
with illegal fee charging by utility providers towards
disabled persons for opting-out of the smart meters proven

to inflict harmful mental and physical harm;
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d) individuals with disabilities continually | encounter
discrimination from several utility providers that refuse to
abide by the Congressionally mandated Americans with
Disability Act, 42 U.S.C. sec. 12101 et seq.,;

e) continued existence of unfair and unnecessary
discrimination and prejudice denies people with disabilities
the opportunity...to pursue those opportunities for which
our free society is justifiably famous...42 U.S.C. sec.12101
(a).”

10. Congress went on to state explicitly the purpose of the Americans
with Disabilities Act to be:

a) “to provide a clear and comprehensive national mandate
for the elimination of discrimination against individuals
with disabilities;

b) to provide clear, strong, consistent, enforceable standards
addressing’ discrimination against individuals with
disabilities; and

c) to invoke the sweep of Congressional authority...to
regulate commerce, in order to address the major areas of
discrimination faced day-to-day by people’ with

disabilities.” 42 U.S.C. sec 12101 (b)
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11. Congress gave commercial businesses one and a half years to

implement the Act. Effective date was January 26, 1992.

12. Nevertheless, the defendants at OUC refused to waive the opt-out
fee barrier that prevented plaintiff from equally enjoying his premise.
Additionally, they refused all written efforts made by plaintiff to
resolve this matter by remaining silent. Then on October 21, 2014,
OUC billed plaintiff $95 for an “enrollment” fee giving no explanation
for what the “enrollment” fee represented, and $13 for an Opt Out AMI

Meter Reading Charge (perpetual charge). See Exhibit (“B”)

13. The U.S. Department of Justice, in promulgating the federal
regulations to implement the ADA, defines “readily achievable” to
mean “easily accomplishable and able to be carried out without much
difficulty or expense.” Defendants could have easily resolved this
matter simply by following the ADA law promulgated by Congress,
and/or, responded to plaintiffs request to waive their illegal fees
instead of refusing to waive the fees and remaining silent. See
plaintiff's request to resolve the smart meter opt-out fees Exhibit
CC")

14. Plaintiff made every effort to resolve this issue. He requested

assistance from U.S. Senator, Bill Nelson, writing him a total of three
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times, but the Senator refused to give aid even though ADA and Civil
Rights is a Federal matter under his jurisdiction. In fact, he remained
silent. See Exhibit (“D”)

15. Plaintiff filed a Complaint with the Florida Department of
Agriculture & Consumer Services. The Agency attempted to resolve
this issue but OUC refused. The Agency wrote: “Unfortunately, we do
not feel that the business response satisfactorily resolved your
complaint. Therefore, we are closing your complaint with a disposition
of ‘CM’ which means that mediation attempts were unsuccessful...We
regret that we were unable to resolve this complaint...” See Exhibit
("E”)

16. Plaintiff filed a Complaint with the Better Business Bureau (“BBB”).
See Exhibit (“F”).

17. Moreover, it should be noted that waiving the OUC illegal fees
would be “readily achievable” and “easily accomplishable” and would
require nothing more than to abstain from billing those fees.

18. As relevant to the present action, discrimination includes the
failure to waive the illegal “enrollment” and opt-out fees for the
disabled plaintiff that was promulgated by Congress in ADA. . . “when
doing is readily achievable” and “easily accomplishable” 42 U.S.C.

12182 (a) and (b) and 42 U.S.C. (2) (A) (i).
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19. Congress included OUC as a public accommodation covered by the

ACT 42 U.S.C. sec.3601 et seq.

20. Defendant’s business at 100 West Anderson Street, Orlando,

Florida 32802 is a public electric power and water provider.

21. Other electric power facilities similar to the defendant’s have made
it a policy to adhere to the Americans with Disability Act and waive
opt-out fees, like what plaintiff asks here. Defendants could easily do
likewise, but has chosen not to comply with the Americans with

Disability Act.

22. Plaintiff wants to be free from the harmful effects of Electro-Motive
Force [Field] (“EMF”) associated with the smart meter and not be
charged illegal fees by OUC for opting-out of the smart meter. .. in

violations of his civil rights under ADA.
GENERAL ALLEGATIONS

23. Plaintiff requested removal of the smart meter and replacement of
his analog meter for disability reasons. OUC complied with plaintiff’s
request and returned his analog meter. However, because plaintiff
refused to accept the smart meter, OUC imposed a discriminatory $95

“enrollment” fee (giving no explanation for the meaning of enrollment
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fee) and a perpetual $13 per month meter reading fee starting in
October 2014. Plaintiff paid the illegal fees under protest on October
15, 2014. See Exhibit ("B”). It should be noted that OUC rightfully
accepted plaintiff’s disability request for smart meter opt-out, but
wrongfully refuses to waive the illegal fees as mandated and required
by the ADA.

24. OUC improperly authorized the mandatory opt-out fees and
discriminates against plaintiff by refusing to waive their illegal fees in
defiance to the dictates of the Americans with Disability Act and in

violation of plaintiff’s Civil Rights.

An Opt-Out Fee Applicable to the Wireless Smart Meters by

Utility Providers Violates the Americans with Disabilities Act.

25. Any fee imposed to opt-out of the wireless mesh network-based
Smart Meter violates Title {| of the Americans with Disability Act. 42
U.S.C. Sec.12131 et seq. _ Plaintiff requested reasonable

accommodation to waive these illegal fees. See (Exhibit “C’’)

26. OUC, through Zimmermann, denied plaintiff's request. In his
letter dated August 21, 2014, Zimmermann wrote: “In accordance
with the Fair Housing Amendment Act, if additional accommodations

are necessary to enable an individual with a disability to live in and
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enjoy their premises, the cost of those accommodations are required

to be paid for by the individual with the disability”. See (Exhibit “G”)

27. Zimmermann misquoted the meaning of Fair Housing Amendment
Act of 1968 (“FHAA”). FHAA, Under Reasonable Accommodations,
requires two (2) types of reasonable accommodations to make existing
housing more accessible to persons with disabilities. These

accommodations consist of structural modification and policy changes.
MODIFICATIONS

28. (1). Modifications may be made to the interior of the individual’s
unit as well as any public and common use areas of a building,
including lobbies, hallways, and laundry rooms. Modification may be
required in any type of dwelling: however, in a rental situation, the
landlord may reasonably condition permission for modification on the
following: (a) the renter agreeing to restore the interior of the
premises to the condition that existed before the modification,
ordinary wear and tear excepted. (b) The renter providing reasonable
description of the proposed modifications. (c) The renter providing
reasonable assurance that the work will be done in a workmanlike
manner with all applicable building permits being obtained. The

landlord may require that the tenant pay a reasonable amount of

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money not to exceed the cost of the restoration, into an interest
bearing escrow account. This means that when the tenant with the

disability moves the unit is restored to its original condition.
POLICY CHANGES

29. FHAA requires that the housing provider makes reasonable
modifications in rules, policies, practices or services necessary to give
persons with disabilities equal opportunity to use and enjoy the
dwelling. Examples that would be required include: (d) allowing a
tenant who is blind to have a guide dog even though the building has a
no pet policy. (e) reserving a parking space for a tenant with a
mobility impairment that is accessible and close to an accessible route

when other tenants must park on a first come, first served basis.

30. Modification and Policy Changes, as stated under FHAA Reasonable
Accommodations, _ relates to structural improvements related to real
estate property, whereas the “enrollment” fee and meter reading fee
imposed by the defendants is a horse-of-another- color—a_ totally
unrelated issue to Modification and Policy Changes and most

importantly, contrariety to the Americans with Disability Act.

31. “ADA recognizes and protects against a backdrop of pervasive

unequal treatment in the administration of state services and

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programs including systematic deprivations of fundamental rights”

(Tennessee v. Lane, 541 U.S. 509, 524 (2004).

32. “Title II prohibits exclusion from participation of, denial of benefits
to, or discrimination against any qualified person with a disability in
the services, or activities of a public entity” (42 U.S.C.sec.12132).
Each state and local government, including a municipal utility, is
required to follow the Americans with Disabilities Act Title Il—no

exceptions.

33. Title II applies to “anything a public entity does” (28 C.F.R. sec.35
App.B.41at 660). An act violates Title I! when it has “the effects of
subjecting qualified individuals with disabilities to discrimination on the
basis of disability” (28 C.F.R. sec.35.130 (b)(3)(i). See Patton v. TIC
United Corp., 77 F.3% 1235, 1245, (10 Cir. 1996) (noting violation
occurs regardless of whether the entity intended to discriminate

against the disabled person).

34. OUC imposes mandatory fees on plaintiff’s medical and emotional
disabilities (listed in Paragraph 5) and especially the ear ringing and
excruciating pain associated with tinnitus while plaintiff must opt-out

of the smart meter to avoid interference these major life functions.

35. The American with Disabilities Act Access Board found as follows:

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“The board recognizes that multiple chemical sensitivities and
electromagnetic sensitivities may be considered disabilities under the
ADA if they severely impair the neurological, respiratory or other
functions of an individual that it substantially limits one or more of the
individual’s major life activities,” See 36 C.F.R. Part 1191 [Docket No.

98-5] RIN 3014-AA16.

36. Following the recognition of EMF sensitivity and its declaration of
commitment to attend to the needs of the EMF sensitive, the Access
Board contracted the National Institute of Building Sciences (NIBS) to
examine how to accommodate the needs of the EMF sensitive in
federally funded buildings. In 2005 the NIBS issued a report making

further recommendations.

37. In the instant case, the Commission has directed that significant
upfront monthly fees be charged on an interim basis, and is exploring
the imposition of such fees on a permanent basis, for anyone that
elects to opt-out of the Smart Meter program or to retain his or her
existing analog meter. While such a program appears superficially to
affect all citizens equally because it imposes the fees to all those who
elect to opt-out, it imposes a mandatory fee of those with an EMF

sensitivity disability who must opt-out to avoid interference with major

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life functions. In essence, ratepayers who have such a condition are
burdened with a fee which is wholly and inescapably related to and
caused by the fact of their disability, and unavoidable for the same
reason. This is particularly troubling when it is unlikely that paying
these fees will in most instances actually continue to cover the

customer's premises.

38. Title II of the ADA of 1990 prohibits discrimination on the basis of
disability in programs and activities of all state and local governments.
The intent of this landmark legislation is to protect the civil rights of
people with disabilities and ensure they have the same opportunity
available to persons without disabilities. Courts achieve equity by
providing reasonable accommodations to disabled people to level the

playing field.

39. Title II also provides that “no qualified individual with a disability
shall, by reason of such disability, be excluded from participation in or
be denied the benefits of the services, programs, or activities of a

public entity, or be subject to discrimination by any such entity”.

40. Title Ill provides “A reasonable accommodation must be granted

when an accommodation is necessary to afford a prospective or

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existing tenant with a disability an opportunity to use and enjoy a

dwelling to the same extent”.

41. The defendants, by discriminating and denying plaintiff’s
entitlement under the provisions of the ADA, have violated plaintiffs
U.S. Constitutional Rights. Civil Rights are violated when the practice
of personal preferences and prejudices of an individual, a business
entity, or a government interferes with the protected rights of others.
Various civil rights laws have made it illegal to discriminate on the
basis of race, religion, sex, handicap, or national origin. See Sec. 804.

[42 U.S.C. 3604 (f)(3)(B)].

42. The Bill of Rights to the U.S. Constitution delineates specific rights
that are reserved for U.S. citizens and residents. No state can remove

or abridge rights that are guaranteed by the Constitution.

43. There exists no logical reason for OUC to charge plaintiff these
illegal fees--except to grab-off monies. Proof of this: No “enrollment”
fee or meter reading charge existed during the period when plaintiff’s

analog meter was originally in place.

44. Plaintiff’s denial by OUC for reasonable accommodation and thus
his Civil Rights is predicated strictly on perpetuating the AMI program.

Wayne Zimmermann made this point clear in his letter dated August

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21, 2014, (Exhibit “G”) when he misquoted the Fair Housing
Amendment Act in response to plaintiff's request for reasonable

accommodation he wrote:

45. “In accordance with the Fair Housing Amendment Act, if additional
accommodations are necessary to enable an individual with a disability
to live in and enjoy their premises, the cost of those accommodations
are required to be paid for by the individual with the disability. To
waive the opt-out fees for one group of customers without offering the
same benefit to all OUC customers would seem unfair and to waive
them for all who opt out would undermine the AMI program”.

(Exhibit “G”)

46. Defendant Zimmermann misquoted the Fair Housing Amendment
Act of 1988 (“FHAA”). The FHAA added persons with a “handicapping
condition,” along with families and children, as protected classes under
the Civil Rights Act. The legislation adopts the definition of
handicapping condition found in Section 504 of the Rehabilitation Act
of 1973, as amended. This definition includes any person who actually
has a physical or mental impairment, has a record of having such and
impairment, or regarded as having such an impairment that

substantially limits one or more major life activity such as hearing,

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seeing, speaking, breathing, performing manual tasks, walking, caring
for oneself, learning or working.

47. Section 504 of the Rehabilitation Act of 1973, as amended
contradicts what Zimmermann wrote. His writings were obviously
intended to dissuade plaintiff from receiving his request for reasonable
accommodation and to perpetuate the AMI Program in defiance to the

Americans with Disabilities Act.

Wherefore, plaintiff prays that this Court will issue an injunction
enjoining the defendants from continuing its discrimination, return all
monies illegally charged plaintiff, and that the Court will award plaintiff
such additional or aiternative relief as may be just, proper, and

equitable, including costs.

Respectfully submitted,

fk Wetabh

William R. Metallo, pro se
1975 Lanier Court

Winter Park, Florida 32792
(407) 599 2129

Dated_/(-26—/¥
Enclosures: Exhibits A, B, C, D, E, F, G

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